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      Robert J. Bonsignore, pro hac vice
1     Lisa A. Sleboda, pro hac vice
      Bonsignore Trial Lawyers, PLLC
2     3771 Meadowcrest Drive
      Las Vegas, NV 89121
3     Office Phone: (781) 350-0000
      Cell Phone: (781) 856-7650
4     Facsimile: (702) 852-5726
      Email: rbonsignore@classactions.us
5
      Counsel for Indirect Purchaser Plaintiff
6     Class Member Objectors
7     [ADDITIONAL COUNSEL LISTED
      ON SIGNATURE PAGE]
8

9                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
10                                 SAN FRANCISCO DIVISION
11

12   IN RE: CATHODE RAY TUBE (CRT)                    Master File No. 4:07-cv-5944-JST
     ANTITRUST LITIGATION
13                                                    MDL No. 1917
14                                                    NOTICE OF APPEAL
15   This Document Relates to:

16   All Indirect-Purchaser Actions

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                                                NOTICE OFAPPEAL
                                      Case No. 4:07-cv-5944-JST, MDL No. 1917
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                                          NOTICE OF APPEAL
 1
              Notice is hereby given that Jeff Speaect (SD), Gloria A. Comeaux (NV), Valerie G. Deick
 2
     (NV), Eric R. Coggins (AZ), Dale B. McKenzie (CA), Heather J. Gordon (FL), Miguel A. Albarran
 3
     (FL), David N. Watson (MI), Craig A. Schuler (NE), Mary J. Baucom (NM), Brendan C. McCann
 4   (NY), Dennis S. Cornett (TN), Lisa L. Butterbrodt (WI), and Jessica M. McIntyre (VT) appeal to
 5   the United States Court of Appeals for the Ninth Circuit from (1) the Final Judgment of Dismissal
 6   with Prejudice as to the Philips, Panasonic, Hitachi, Toshiba, Samsung SDI, Thomson and TDA
 7   Defendants, entered on July 29, 2020 (Dkt. 5804) and (2) the underlying Order granting Final
 8   Approval of amended settlements, which was entered on July 13, 2020 (Dkt. 5786).
 9            The appeal of the July 29, 2020 Judgment presents for review all earlier, now merged

10   and/or interlocutory orders and judgments, including, but not limited to, (1) the Order granting

11   Preliminary Approval of the amended settlements, entered on March 11, 2020 (Dkt. 5695), (2) the

12   Order Granting Final Approval of Indirect Purchaser Settlements, entered on July 7, 2016 (Doc.

13   No. 4712), (3) the Judgment of Dismissal with Prejudice as to the Philips, Panasonic, Hitachi,
     Toshiba, Samsung SDI, Thomson and TDA Defendants, entered on July 14, 2016 (Dkt. 4717), (4)
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     the Order on Attorneys’ Fees, Expenses and Incentive Awards Re: Indirect Purchaser Plaintiff
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     Settlements, entered on August 3, 2016 (Doc. No. 4740), and (5) the Order refusing to entertain
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     any motion to vacate prior settlement in accordance with the Ninth Circuit’s remand order and
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     mandate (Case No. 16-16373, Dkt. 252-53), which was entered on October 18, 2019 (Dkt. 5632).
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              The foregoing district court orders are attached hereto respectively as Exhibits A (Dkt.
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     5804), B (Dkt. 5786), C (Dkt. 5695), D (Dkt. 4712), E (Dkt. 4717), F (Dkt. 4740), and G (Dkt.
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     5632).
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              This appeal should be assigned to the same panel that previously decided In re Cathode
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     Ray Tube (CRT) Antitrust Litig., Case No. 16-16368 consolidated with, inter alia, Appeal Numbers
23   16-373, 16-399 and 16-16400. In its order remanding the proceeding to the district court in that
24   earlier appeal, the Court ordered that “[t]he current panel will retain responsibility for future
25   appeals in this case.” See In re Cathode Ray Tube (CRT) Antitrust Litig., 753 Fed. Appx. 438, 442
26   (9th Cir. 2019) (Case No. 16-16368, Dkt. 238 at 12). Because this appeal arises from the same
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     case as Appeal Number 16-16368 and the underlying consolidated cases, and from noncompliance
 1
     with the Ninth Circuit’s remand order and mandate, it should be assigned to the panel assigned to
 2
     that proceeding.
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            The representation statement required under Federal Rule of Appellate Procedure 12(b)
 4   and Ninth Circuit Rule 3-2 is attached as Exhibit H.
 5
      Dated: August 28, 2020                         Respectfully submitted,
 6

 7                                                   /s/ Robert J. Bonsignore
                                                     Robert J. Bonsignore
 8
                                                     Robert J. Bonsignore, pro hac vice
 9                                                   Lisa A. Sleboda, pro hac vice
                                                     Bonsignore Trial Lawyers, PLLC
10                                                   3771 Meadowcrest Drive
                                                     Las Vegas, NV 89121
11                                                   Telephone: (781) 856-7650
                                                     Facsimile: (702) 852-5626
12                                                   Email: rbonsignore@classactions.us

13                                                   Counsel for Indirect Purchaser Plaintiff
                                                     Class Member Objectors
14
                                                     D. Michael Noonan, pro hac vice
15                                                   Shaheen and Gordon
16                                                   353 Central Avenue
                                                     P.O. Box 977
17                                                   Dover, NH 03821
                                                     Telephone: (603) 871-4144
18                                                   mnoonan@shaheengordon.com
19                                                   Joseph Alioto (42680)
20                                                   Alioto Law Firm
                                                     One Sansome St. 35 Floor
21                                                   San Francisco, CA 94104
                                                     Telephone: (415) 434-8900
22                                                   jmalioto@aliotolaw.com
23

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                                     CERTIFICATE OF SERVICE
 1
            I hereby certify that a true copy of the foregoing was filed via CM/ECF on August 28,
 2
     2020, and as a result has been served on all counsel of record via transmission of Notices of
 3
     Electronic Filing generated by CM/ECF.
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 5                                                /s/ Robert J. Bonsignore
                                                  Robert J. Bonsignore
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